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 1   McGREGOR W. SCOTT
     United States Attorney
 2   ANDRÉ M. ESPINOSA
     ROSANNE L. RUST
 3   Assistant U. S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, CA 95814
     Telephone: (916) 554-2700
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        2:15-CR-00176-TLN
12                 Plaintiff,
                                                      FINAL ORDER OF FORFEITURE
13          v.
14   BOONE B. KHOONSRIVONG,
     THONGCHONE VONGDENG,
15   DAISY SYSENGRAT,
     VUTHIYA TIM,
16   MEGHAN PARADIS,
     SEQUOIA VALVERDE,
17   AMBER COLLINS, and
     JAFFREY BROWN,
18
                   Defendants.
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21          On March 6, 2017, August 17, 2017, March 5, 2018, and May 22, 2018, this Court entered

22 Preliminary Orders of Forfeiture and an Amended Preliminary Order of Forfeiture pursuant to the

23 provisions of 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), based upon the respective plea agreements

24 entered into between plaintiff United States of America and defendants Sequoia Valverde, Vithiya Tim,

25 Meghan Paradis, Jaffrey Brown, Amber Collins, Thongchone Vongdeng, Daisy Sysengrat, and Boone
26 B. Khoonsrivong forfeiting to the United States the following property:

27                 a.      Metro PCS/Huawei Model M931 cellular phone, black with a cracked screen,
                           serial number: F4G29D1342417146;
28                 b.      Acer Chromebook computer, serial number: nxsheaa002416002597600;
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                     c.     Kyocera cellular phone, serial number: v65c5133;
 1                   d.     Samsung cellular phone, serial number: r31d20evfde;
                     e.     AT&T cellular phone, serial number: 327b414247a;
 2                   f.     Samsung galaxy cellular phone, serial number: r38f206jr1e;
                     g.     iPad tablet computer, serial number: dlxmq7mcfk11;
 3                   h.     Acer laptop computer, serial number: nxm2haa007236006e0160;
                     i.     Dell laptop computer, serial number: 13661154469;
 4                   j.     Epson printer, serial number: sn5y092386;
                     k.     Samsung printer, serial number: zevpb8kf4c00qsf;
 5                   l.     Credit card reader/writer MSR606 (serial number not visible);
                     m.     iPhone cellular phone, model a1533, serial number: imei013988002936855;
 6                   n.     Lenova computer, serial number: cp22490519;
                     o.     Asus computer, serial number: esn0bc225782227;
 7                   p.     iPhone cellular phone, serial number: bcge2642a;
                     q.     HP all in one personal computer, serial number: 3cr3430fd8;
 8                   r.     Samsung tablet computer, serial number: r52f6022tdf;
                     s.     iPhone cellular phone, black, serial number: bcga1241;
 9                   t.     Acer computer, serial number: nxmnzaa0044200312b3400;
                     u.     iPad tablet computer, serial number: f4qmvb6zflmq;
10                   v.     LG tablet znfv410;
                     w.     Samsung galaxy S5 cellular phone, serial number: r38f40yxmkr;
11                   x.     Nokia phone, serial number: 353045061498448;
                     y.     Samsung tablet computer, rf2f210rvry;
12                   z.     Acer computer, serial number: nxmkeaa001416036ff7600;
                     aa.    HP laptop computer, serial number: cnu63326pn;
13                   bb.    iPod touch device, serial number: ccqn3ac7fmjf;
                     cc.    iPod device, serial number: ccqmx2dxfmjf;
14                   dd.    Lexmark printer/copier, serial number: 15450911645;
                     ee.    iPhone 4 cellular phone, white and cracked on front and back, with a white and
15                          pink case, serial number not recorded;
                     ff.    iPhone cellular phone with cracked back plate and Mophie battery pack, serial
16                          number not recorded;
                     gg.    Numerous credit cards, gift cards, access devices and financial and personal
17                          documents belonging to others and used in the scheme to defraud;
                     hh.    The value, i.e., balance of funds, in each of the seized pre-paid gift cards debit
18                          cards.
19          Beginning on March 18, 2017, October 20, 2017, and July 27, 2018, for at least 30 consecutive

20 days, the United States published notice of the Court’s Orders of Forfeiture on the official internet

21 government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of their

22 right to petition the Court within sixty (60) days from the first day of publication of the notice for a

23 hearing to adjudicate the validity of their alleged legal interest in the forfeited property.

24          The Court has been advised that no third party has filed a claim to the subject property, and the

25 time for any person or entity to file a claim has expired.
26          Accordingly, it is hereby ORDERED and ADJUDGED:

27          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

28 and interest in the above-listed property pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C),
                                                        2
29                                                                                        Final Order of Forfeiture

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 1 including all right, title, and interest of Sequoia Valverde, Vithiya Tim, Meghan Paradis, Jaffrey Brown,

 2 Amber Collins, Thongchone Vongdeng, Daisy Sysengrat, and Boone B. Khoonsrivong, whose rights to

 3 the above-listed property are hereby extinguished. The above-listed property shall be disposed of

 4 according to law.

 5          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

 6 United States of America.

 7          3.       The U.S. Marshals Service shall maintain custody of and control over the subject

 8 property until it is disposed of according to law.
 9          SO ORDERED this 12th day of June, 2019.

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                                             Troy L. Nunley
14                                           United States District Judge
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29                                                                                               Final Order of Forfeiture

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